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                        THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA

SEAN SHEFFLER,                                     Case No.:

on behalf of himself and all others
similarly situated,                                CLASS ACTION COMPLAINT

      Plaintiff,                                   DEMAND FOR JURY TRIAL

v.

AMERICOLD REALTY TRUST,
a Maryland corporation,

      Defendant.



       Plaintiff Sean Sheffler (“Plaintiff”) brings this Class Action Complaint against Americold

Realty Trust (“Americold” or “Defendant”), individually and on behalf of all others similarly

situated, and alleges, upon personal knowledge as to his own actions and his counsels’

investigations, and upon information and belief as to all other matters, as follows:

                                      I. INTRODUCTION

       1.       Plaintiff brings this class action against Defendant for its failure to properly secure

and safeguard personal identifiable information that Defendant required from its employees as a

condition of employment, including without limitation, names, Social Security numbers, dates of

birth, government-issued ID numbers, financial account numbers, credit/debit card numbers,

passwords or login credentials, digital signatures, mother’s maiden names, birth certificates,

biometric information, and/or medical/health insurance information (collectively, “personal

identifiable information” or “PII”). Plaintiff also alleges Defendant failed to provide timely,

accurate, and adequate notice to Plaintiff and similarly situated current and former employees and

their beneficiaries and dependents (collectively, “Class Members”) that their PII had been lost and

precisely what types of information was unencrypted and in the possession of unknown third

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parties.

           2.       According to its website, for almost 120 years, Defendant “has been the leader in

providing technology-based engineered solutions for the temperature-controlled supply chain

industry.”1 Defendant employs “nearly 13,000 Associates.”2 Defendant’s employees entrust

Defendant with an extensive amount of their PII. Defendant retains this information on computer

hardware—even after the employment relationship ends. Defendant asserts that it understands the

importance of protecting such information.

           3.       On or before November 16, 2020, Defendant learned that a breach of Defendant’s

computer network had occurred and that it involved ransomware (the “Data Breach”).

           4.       Defendant determined that the Data Breach involved unauthorized activity on its

network between October 29, 2020 and November 16, 2020, including unauthorized access to files

on Defendant’s servers. These servers contained files that in turn contained information about

Defendant’s current and former employees.

           5.       More than three months later, in a “Notice of Data Breach,” dated March 4, 2021,

Defendant advised Plaintiff of the Data Breach.

           6.       By obtaining, collecting, using, and deriving a benefit from the PII of Plaintiff and

Class Members, Defendant assumed legal and equitable duties to those individuals to protect and

safeguard that information from unauthorized access and intrusion. Defendant admits that the

unencrypted PII exposed to “unauthorized activity” included names, Social Security numbers, and

dates of birth.

           7.       The exposed PII of Plaintiff and Class Members can be sold on the dark web.

Hackers can access and then offer for sale the unencrypted, unredacted PII to criminals. Plaintiff


1
    See https://www.americold.com/ (last visited Mar. 12, 2021).
2
    See https://www.americold.com/about-us/sustainability (last visited Mar. 12, 2021).
                                                 2
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and Class Members now face a lifetime risk of identity theft, which is heightened here by the loss

of Social Security numbers.

       8.       This PII was compromised due to Defendant’s negligent and/or careless acts and

omissions and the failure to protect the PII of Plaintiff and Class Members. In addition to

Defendant’s failure to prevent the Data Breach, after discovering the breach, Defendant waited

several months to report it to the states’ Attorneys General and affected individuals. Defendant

has also purposefully maintained secret the specific vulnerabilities and root causes of the breach

and has not informed Plaintiff and Class Members of that information.

       9.       As a result of this delayed response, Plaintiff and Class Members had no idea their

PII had been compromised, and that they were, and continue to be, at significant risk of identity

theft and various other forms of personal, social, and financial harm. The risk will remain for their

respective lifetimes.

       10.      Plaintiff brings this action on behalf of all persons whose PII was compromised as

a result of Defendant’s failure to: (i) adequately protect the PII of Plaintiff and Class Members;

(ii) warn Plaintiff and Class Members of Defendant’s inadequate information security practices;

and (iii) effectively secure hardware containing protected PII using reasonable and effective

security procedures free of vulnerabilities and incidents. Defendant’s conduct amounts to

negligence and violates federal and state statutes.

       11.      Plaintiff and Class Members have suffered injury as a result of Defendant’s

conduct. These injuries include: (i) lost or diminished value of PII; (ii) out-of-pocket expenses

associated with the prevention, detection, and recovery from identity theft, tax fraud, and/or

unauthorized use of their PII; (iii) lost opportunity costs associated with attempting to mitigate the

actual consequences of the Data Breach, including but not limited to lost time, and (iv) the


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continued and certainly increased risk to their PII, which: (a) remains unencrypted and available

for unauthorized third parties to access and abuse; and (b) may remain backed up in Defendant’s

possession and is subject to further unauthorized disclosures so long as Defendant fails to

undertake appropriate and adequate measures to protect the PII.

       12.     Defendant disregarded the rights of Plaintiff and Class Members by intentionally,

willfully, recklessly, or negligently failing to take and implement adequate and reasonable

measures to ensure that the PII of Plaintiff and Class Members was safeguarded, failing to take

available steps to prevent an unauthorized disclosure of data, and failing to follow applicable,

required and appropriate protocols, policies and procedures regarding the encryption of data, even

for internal use. As the result, the PII of Plaintiff and Class Members was compromised through

disclosure to an unknown and unauthorized third party. Plaintiff and Class Members have a

continuing interest in ensuring that their information is and remains safe, and they should be

entitled to injunctive and other equitable relief.

                                          II. PARTIES

       13.     Plaintiff Sean Sheffler (“Sheffler”) is a Citizen of Ohio residing in Defiance

County, Ohio. Mr. Sheffler received Defendant’s Notice of Data Breach, dated March 4, 2021,

on or about that date. The notice stated that Plaintiff’s name, Social Security number, and date of

birth may have been exposed.

       14.     Defendant Americold Realty Trust is a corporation organized under the laws of

Maryland, headquartered at 10 Glenlake Parkway, South Tower, Suite 600, Atlanta, Georgia, with

its principal place of business in Atlanta, Georgia.

       15.     The true names and capacities of persons or entities, whether individual, corporate,

associate, or otherwise, who may be responsible for some of the claims alleged herein are currently


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unknown to Plaintiff. Plaintiff will seek leave of court to amend this complaint to reflect the true

names and capacities of such other responsible parties when their identities become known.

         16.     All of Plaintiff’s claims stated herein are asserted against Defendant and any of its

owners, predecessors, successors, subsidiaries, agents and/or assigns.

                              III. JURISDICTION AND VENUE

         17.     This Court has subject matter and diversity jurisdiction over this action under 28

U.S.C. § 1332(d) because this is a class action wherein the amount of controversy exceeds the sum

or value of $5 million, exclusive of interest and costs, there are more than 100 members in the

proposed class, and at least one Class Member is a citizen of a state different from Defendant to

establish minimal diversity.

         18.     The Northern District of Georgia has personal jurisdiction over Defendant named

in this action because Defendant and/or its parents or affiliates are headquartered in this District

and Defendant conduct substantial business in Georgia and this District through its headquarters,

offices, parents, and affiliates.

         19.     Venue is proper in this District under 28 U.S.C. §1391(b) because Defendant and/or

its parents or affiliates are headquartered in this District and a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred in this District.

                               IV. FACTUAL ALLEGATIONS

         Background

         20.     According to its website, for almost 120 years, Defendant “has been the leader in

providing technology-based engineered solutions for the temperature-controlled supply chain

industry.”3 Defendant employs “nearly 13,000 Associates.”4


3
    See https://www.americold.com/ (last visited Mar. 12, 2021).
4
    See https://www.americold.com/about-us/sustainability (last visited Mar. 12, 2021).
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       21.     Plaintiff and Class Members employed by Defendant were required to provide

Defendant sensitive and confidential information for themselves and their beneficiaries and

dependents, including names, Social Security numbers, dates of birth, and other personal

identifiable information, which is static, does not change, and can be used to commit myriad

financial crimes.

       22.     Plaintiff and Class Members, as current and former employees and their

beneficiaries and dependents, relied on this sophisticated Defendant to keep their PII confidential

and securely maintained, to use this information for business purposes only, and to make only

authorized disclosures of this information. Plaintiff and Class Members demand security to

safeguard their PII.

       23.     Defendant had a duty to adopt reasonable measures to protect the PII of Plaintiff

and Class Members from involuntary disclosure to third parties.

       The Data Breach

       24.     On or about March 4, 2021, Defendant sent Plaintiff a Notice of Data Breach.5

Defendant informed Plaintiff that:

               What Happened

               On November 16, 2020, we determined that our computer network
               was affected by a data security incident. We immediately began an
               investigation to assess the incident’s scope and engaged a third-
               party cybersecurity firm to assist with that investigation. We
               preemptively shut down our systems to contain the incident and then
               undertook a secure, managed restoration. In addition, we promptly
               notified law enforcement and have been cooperating with their
               investigation of the incident.

               What Information Was Involved

               Based on the investigation, some of your personal information was
5
  See Notice of Data Breach, a true and correct copy of which is attached hereto as Exhibit 1
(“Ex. 1”).
                                              6
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                in files that may have been accessed without authorization.
                Depending on the document(s), this information may have included
                your name and one or more of the following: social security number
                and date of birth.

                What We Are Doing
                We preemptively shut down our systems to contain the incident and
                then undertook a secure, managed restoration. We also engaged a
                third-party cybersecurity firm to assist with our review and notified
                law enforcement and continue to cooperate with them. We have
                taken steps to further strengthen and enhance the security of systems
                in our network, including updating administrative and technical
                safeguards.6

        25.     On or about March 4, 2021, Defendant notified various state Attorneys General,

including Maine’s Attorney General Frey, of the Data Breach.7 Defendant also provided the

Attorneys General with “sample” notices of the Data Breach that suggest the information exposed

in the Data Breach is not limited to names, Social Security numbers, and dates of birth, but may

also include government-issued ID numbers, financial account numbers, credit/debit card

numbers, passwords or login credentials, digital signatures, mother’s maiden names, birth

certificates, biometric information, and/or medical/health insurance information.8

        26.     Defendant admitted in the Notice of Data Breach, the letters to the Attorneys

General, and the “sample” notices of the Data Breach that unauthorized third persons accessed

files that contained sensitive information about Defendant’s current and former employees and

their beneficiaries and dependents, including names, Social Security numbers, and dates of birth,

and potentially including government-issued ID numbers, financial account numbers, credit/debit

card numbers, passwords or login credentials, digital signatures, mother’s maiden names, birth

certificates, biometric information, and/or medical/health insurance information.



6
  Ex. 1, p.1.
7
  Ex. 2.
8
  Ex. 3.
                                                 7
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       27.     In response to the Data Breach, Defendant claims that “[w]e preemptively shut

down our systems to contain the incident and then undertook a secure, managed restoration. We

also engaged a third-party cybersecurity firm to assist with our review and notified law

enforcement and continue to cooperate with them. We have taken steps to further strengthen and

enhance the security of systems in our network, including updating administrative and technical

safeguards.”9 However, the details of the root cause of the Data Breach, the vulnerabilities

exploited, and the remedial measures undertaken to ensure a breach does not occur again have not

been shared with regulators or Plaintiff and Class Members, who retain a vested interest in ensuring

that their information remains protected.

       28.     The unencrypted PII of Plaintiff and Class Members may end up for sale on the

dark web, or simply fall into the hands of companies that will use the detailed PII for targeted

marketing without the approval of Plaintiff and Class Members. Unauthorized individuals can

easily access the PII of Plaintiff and Class Members.

       29.     Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive, unencrypted information it was maintaining for Plaintiff and Class

Members, causing the exposure of PII for approximately 140,000 individuals.

       30.     As explained by the Federal Bureau of Investigation, “[p]revention is the most

effective defense against ransomware and it is critical to take precautions for protection.”10

       31.     To prevent and detect ransomware attacks, including the ransomware attack that

resulted in the Data Breach, Defendant could and should have implemented, as recommended by

the United States Government, the following measures:


9
 Exs. 1, 3.
10
    See How to Protect Your Networks from RANSOMWARE, at 3, available at
https://www.fbi.gov/file-repository/ransomware-prevention-and-response-for-cisos.pdf/view (last
visited Mar. 15, 2021).
                                              8
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•    Implement an awareness and training program. Because end users are targets,
     employees and individuals should be aware of the threat of ransomware and how it is
     delivered.

•    Enable strong spam filters to prevent phishing emails from reaching the end users and
     authenticate inbound email using technologies like Sender Policy Framework (SPF),
     Domain Message Authentication Reporting and Conformance (DMARC), and
     DomainKeys Identified Mail (DKIM) to prevent email spoofing.

•    Scan all incoming and outgoing emails to detect threats and filter executable files from
     reaching end users.

•    Configure firewalls to block access to known malicious IP addresses.

•    Patch operating systems, software, and firmware on devices. Consider using a
     centralized patch management system.

•    Set anti-virus and anti-malware programs to conduct regular scans automatically.

•    Manage the use of privileged accounts based on the principle of least privilege: no
     users should be assigned administrative access unless absolutely needed; and those
     with a need for administrator accounts should only use them when necessary.

•    Configure access controls—including file, directory, and network share permissions—
     with least privilege in mind. If a user only needs to read specific files, the user should
     not have write access to those files, directories, or shares.

•    Disable macro scripts from office files transmitted via email. Consider using Office
     Viewer software to open Microsoft Office files transmitted via email instead of full
     office suite applications.

•    Implement Software Restriction Policies (SRP) or other controls to prevent programs
     from executing from common ransomware locations, such as temporary folders
     supporting popular Internet browsers or compression/decompression programs,
     including the AppData/LocalAppData folder.

•    Consider disabling Remote Desktop protocol (RDP) if it is not being used.

•    Use application whitelisting, which only allows systems to execute programs known
     and permitted by security policy.

•    Execute operating system environments or specific programs in a virtualized
     environment.

•    Categorize data based on organizational value and implement physical and logical



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             separation of networks and data for different organizational units.11

       32.      To prevent and detect ransomware attacks, including the ransomware attack that

resulted in the Data Breach, Defendant could and should have implemented, as recommended by

the United States Cybersecurity & Infrastructure Security Agency, the following measures:

        •    Update and patch your computer. Ensure your applications and operating systems
             (OSs) have been updated with the latest patches. Vulnerable applications and OSs are
             the target of most ransomware attacks….

        •    Use caution with links and when entering website addresses. Be careful when
             clicking directly on links in emails, even if the sender appears to be someone you
             know. Attempt to independently verify website addresses (e.g., contact your
             organization's helpdesk, search the internet for the sender organization’s website or
             the topic mentioned in the email). Pay attention to the website addresses you click on,
             as well as those you enter yourself. Malicious website addresses often appear almost
             identical to legitimate sites, often using a slight variation in spelling or a different
             domain (e.g., .com instead of .net)….

        •    Open email attachments with caution. Be wary of opening email attachments, even
             from senders you think you know, particularly when attachments are compressed files
             or ZIP files.

        •    Keep your personal information safe. Check a website’s security to ensure the
             information you submit is encrypted before you provide it….

        •    Verify email senders. If you are unsure whether or not an email is legitimate, try to
             verify the email’s legitimacy by contacting the sender directly. Do not click on any
             links in the email. If possible, use a previous (legitimate) email to ensure the contact
             information you have for the sender is authentic before you contact them.

        •    Inform yourself. Keep yourself informed about recent cybersecurity threats and up
             to date on ransomware techniques. You can find information about known phishing
             attacks on the Anti-Phishing Working Group website. You may also want to sign up
             for CISA product notifications, which will alert you when a new Alert, Analysis
             Report, Bulletin, Current Activity, or Tip has been published.

        •    Use and maintain preventative software programs. Install antivirus software,
             firewalls, and email filters—and keep them updated—to reduce malicious network
             traffic….12


11
  Id. at 3-4.
12
  See Security Tip (ST19-001) Protecting Against Ransomware (original release date Apr. 11,
2019), available at https://us-cert.cisa.gov/ncas/tips/ST19-001 (last visited Mar. 15, 2021).
                                                 10
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       33.       To prevent and detect ransomware attacks, including the ransomware attack that

resulted in the Data Breach, Defendant could and should have implemented, as recommended by

the Microsoft Threat Protection Intelligence Team, the following measures:

             Secure internet-facing assets

             -          Apply latest security updates
             -          Use threat and vulnerability management
             -          Perform regular audit; remove privileged credentials;

             Thoroughly investigate and remediate alerts

             -          Prioritize and treat commodity malware infections as potential full
                        compromise;

             Include IT Pros in security discussions

             -          Ensure collaboration among [security operations], [security admins], and
                        [information technology] admins to configure servers and other endpoints
                        securely;

             Build credential hygiene

             -          Use [multifactor authentication] or [network level authentication] and use
                        strong, randomized, just-in-time local admin passwords

             Apply principle of least-privilege

             -          Monitor for adversarial activities
             -          Hunt for brute force attempts
             -          Monitor for cleanup of Event Logs
             -          Analyze logon events

             Harden infrastructure

             -          Use Windows Defender Firewall
             -          Enable tamper protection
             -          Enable cloud-delivered protection
                 -      Turn on attack surface reduction rules and [Antimalware Scan Interface] for
                        Office [Visual Basic for Applications].13


13
   See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020), available at
https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-a-
preventable-disaster/ (last visited Mar. 15, 2021).
                                                 11
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       34.     Given that Defendant was storing the PII of approximately 140,000 individuals,

collected since at least 2000, Defendant could and should have implemented all of the above

measures to prevent and detect ransomware attacks.

       35.     The occurrence of the Data Breach indicates that Defendant failed to adequately

implement one or more of the above measures to prevent ransomware attacks, resulting in the Data

Breach and the exposure of the PII of approximately 140,000 individuals, including Plaintiff and

Class Members.

       Defendant Acquires, Collects, and Stores the PII of Plaintiff and Class Members.

       36.     Defendant acquired, collected, and stored the PII of Plaintiff and Class Members at

least from 2000 to 2020.

       37.     As a condition of maintaining employment with Defendant, Defendant requires that

its employees entrust Defendant with highly confidential PII.

       38.     By obtaining, collecting, and storing the PII of Plaintiff and Class Members,

Defendant assumed legal and equitable duties and knew or should have known that it was

responsible for protecting the PII from disclosure.

       39.     Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their PII and relied on Defendant to keep their PII confidential and securely

maintained, to use this information for business purposes only, and to make only authorized

disclosures of this information.

       Securing PII and Preventing Breaches

       40.     Defendant could have prevented this Data Breach by properly securing and

encrypting the files and file servers containing the PII of Plaintiff and Class Members.

Alternatively, Defendant could have destroyed the data, especially decade-old data from former


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employees and their beneficiaries and dependents.

         41.     Defendant’s negligence in safeguarding the PII of Plaintiff and Class Members is

exacerbated by the repeated warnings and alerts directed to protecting and securing sensitive data.

         42.     Despite the prevalence of public announcements of data breach and data security

compromises, Defendant failed to take appropriate steps to protect the PII of Plaintiff and Class

Members from being compromised.

         43.     The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.”14

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.”15

         44.     The ramifications of Defendant’s failure to keep secure the PII of Plaintiff and Class

Members are long lasting and severe. Once PII is stolen, particularly Social Security numbers,

fraudulent use of that information and damage to victims may continue for years.

         Value of Personal Identifiable Information

         45.     The PII of individuals remains of high value to criminals, as evidenced by the prices

they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. For example, personal information can be sold at a price ranging from $40 to $200,




14
     17 C.F.R. § 248.201 (2013).
15
     Id.
                                                  13
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and bank details have a price range of $50 to $200.16 Experian reports that a stolen credit or debit

card number can sell for $5 to $110 on the dark web.17 Criminals can also purchase access to entire

company data breaches from $900 to $4,500.18

       46.     Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to a variety of fraudulent uses and are difficult

for an individual to change. The Social Security Administration stresses that the loss of an

individual’s Social Security number, as is the case here, can lead to identity theft and extensive

financial fraud:

               A dishonest person who has your Social Security number can use it
               to get other personal information about you. Identity thieves can use
               your number and your good credit to apply for more credit in your
               name. Then, they use the credit cards and don’t pay the bills, it
               damages your credit. You may not find out that someone is using
               your number until you’re turned down for credit, or you begin to get
               calls from unknown creditors demanding payment for items you
               never bought. Someone illegally using your Social Security number
               and assuming your identity can cause a lot of problems.19

       47.     What is more, it is no easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,



16
    Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-
dark-web-how-much-it-costs/ (last accessed Dec. 30, 2020).
17
   Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec.
6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
personal-information-is-selling-for-on-the-dark-web/ (last accessed Dec. 29, 2020).
18
   In the Dark, VPNOverview, 2019, available at:
https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/ (last accessedDec. 29,
2020).
19
   Social Security Administration, Identity Theft and Your Social Security Number, available at:
https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed Dec. 29, 2020).
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ongoing fraud activity to obtain a new number.

         48.   Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, “The credit bureaus and banks are able to link the

new number very quickly to the old number, so all of that old bad information is quickly inherited

into the new Social Security number.”20

         49.   Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

change—Social Security number, name, and date of birth, and potentially government-issued ID

number, mother’s maiden name, birth certificate, and biometric information.

         50.   This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information and Social Security numbers are worth more than 10x on the

black market.”21

         51.   Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

         52.   The fraudulent activity resulting from the Data Breach may not come to light for

years.



20
   Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), available at: http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-
s-hackers-has-millionsworrying-about-identity-theft (last accessed Dec. 29, 2020).
21
   Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers, IT World, (Feb. 6, 2015), available at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html (last accessed Dec. 29, 2020).
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       53.     There may be a time lag between when harm occurs versus when it is discovered,

and also between when PII is stolen and when it is used. According to the U.S. Government

Accountability Office (“GAO”), which conducted a study regarding data breaches:

               [L]aw enforcement officials told us that in some cases, stolen data
               may be held for up to a year or more before being used to commit
               identity theft. Further, once stolen data have been sold or posted on
               the Web, fraudulent use of that information may continue for years.
               As a result, studies that attempt to measure the harm resulting from
               data breaches cannot necessarily rule out all future harm.22

       54.     At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members, including Social Security

numbers and dates of birth, and of the foreseeable consequences that would occur if Defendant’s

data security system was breached, including, specifically, the significant costs that would be

imposed on Plaintiff and Class Members as a result of a breach.

       55.     Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their PII.

       56.     Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant’s file servers, amounting to potentially tens or hundreds

of thousands of individuals’ detailed, personal information and, thus, the significant number of

individuals who would be harmed by the exposure of the unencrypted data.

       57.     To date, Defendant has offered Plaintiff and Class Members only two years of

identity theft detection through a single credit bureau, Experian. The offered service is inadequate

to protect Plaintiff and Class Members from the threats they face for years to come, particularly in



22
   Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf (last accessed Mar. 15, 2021).
                                              16
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light of the PII at issue here.

        58.     The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.

        Plaintiff Sean Sheffler’s Experience

        59.     In or around November 2019, Plaintiff Sean Sheffler worked for Defendant or its

subsidiary in Napoleon, Ohio. As a condition of employment, Defendant required that he provide

his PII, including but not limited to his name, Social Security number, and date of birth.

        60.     Mr. Sheffler received the Notice of Data Breach, dated March 4, 2021, on or about

that date.

        61.     As a result of the Data Breach notice, Mr. Sheffler spent time dealing with the

consequences of the Data Breach, which includes time spent verifying the legitimacy of the Notice

of Data Breach, exploring credit monitoring and identity theft insurance options, signing up and

routinely monitoring the credit monitoring offered by Defendant, and self-monitoring his accounts.

This time has been lost forever and cannot be recaptured.

        62.     Additionally, Mr. Sheffler is very careful about sharing his PII. He has never

knowingly transmitted unencrypted PII over the internet or any other unsecured source.

        63.     Mr. Sheffler stores any documents containing his PII in a safe and secure location

or destroys the documents. Moreover, he diligently chooses unique usernames and passwords for

his various online accounts.

        64.     Mr. Sheffler suffered actual injury in the form of damages to and diminution in the

value of his PII—a form of intangible property that Mr. Sheffler entrusted to Defendant for the

purpose of his employment, which was compromised in and as a result of the Data Breach.


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       65.     Mr. Sheffler suffered lost time, annoyance, interference, and inconvenience as a

result of the Data Breach and has anxiety and increased concerns for the loss of his privacy.

       66.     Mr. Sheffler has suffered imminent and impending injury arising from the

substantially increased risk of fraud, identity theft, and misuse resulting from his PII, especially

his Social Security number, in combination with his name and date of birth, being placed in the

hands of unauthorized third parties and possibly criminals.

       67.     Mr. Sheffler has a continuing interest in ensuring that his PII, which, upon

information and belief, remains backed up in Defendant’s possession, is protected and safeguarded

from future breaches.

                                V. CLASS ALLEGATIONS

       68.     Plaintiff brings this nationwide class action on behalf of himself and on behalf of

all others similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules

of Civil Procedure.

       69.     The Nationwide Class that Plaintiff seeks to represent is defined as follows:

               All individuals whose PII was compromised in the data breach that
               is the subject of the Notice of Data Breach that Defendant sent to
               Plaintiff on or around March 4, 2021 (the “Nationwide Class”).

       70.     Pursuant to Rule 23, and in the alternative to claims asserted on behalf of the

Nationwide Class, Plaintiff asserts claims on behalf of a separate subclass, defined as follows:

               All current and former employees of Defendant who had contracts
               related to PII that was compromised in the data breach that is the
               subject of the Notice of Data Breach that Defendant sent to Plaintiff
               on or around March 4, 2021 (the “Employees Class”).

       71.     Excluded from the Classes are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; all individuals who make a timely election to be excluded

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from this proceeding using the correct protocol for opting out; any and all federal, state or local

governments, including but not limited to their departments, agencies, divisions, bureaus, boards,

sections, groups, counsels and/or subdivisions; and all judges assigned to hear any aspect of this

litigation, as well as their immediate family members.

       72.     Plaintiff reserves the right to modify or amend the definition of the proposed classes

before the Court determines whether certification is appropriate.

       73.     Numerosity, Fed R. Civ. P. 23(a)(1): The Nationwide Class (the “Class”) are so

numerous that joinder of all members is impracticable. Defendant has identified thousands of

current and former employees, and beneficiaries and dependents thereof, whose PII may have been

improperly accessed in the Data Breach, and the Class is apparently identifiable within

Defendant’s records. Defendant advised Maine Attorney General Frey that the Data Breach

affected 141,351 individuals.

       74.     Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and fact

common to the Classes exist and predominate over any questions affecting only individual Class

Members. These include:

         a. Whether and to what extent Defendant had a duty to protect the PII of Plaintiff and

             Class Members;

         b. Whether Defendant had duties not to disclose the PII of Plaintiff and Class Members

             to unauthorized third parties;

         c. Whether Defendant had duties not to use the PII of Plaintiff and Class Members for

             non-business purposes;

         d. Whether Defendant failed to adequately safeguard the PII of Plaintiff and Class

             Members;


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         e. Whether and when Defendant actually learned of the Data Breach;

         f. Whether Defendant adequately, promptly, and accurately informed Plaintiff and

             Class Members that their PII had been compromised;

         g. Whether Defendant violated the law by failing to promptly notify Plaintiff and Class

             Members that their PII had been compromised;

         h. Whether Defendant failed to implement and maintain reasonable security procedures

             and practices appropriate to the nature and scope of the information compromised in

             the Data Breach;

         i. Whether Defendant adequately addressed and fixed the vulnerabilities which

             permitted the Data Breach to occur;

         j. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing to

             safeguard the PII of Plaintiff and Class Members;

         k. Whether Plaintiff and Class Members are entitled to actual damages, statutory

             damages, and/or nominal damages as a result of Defendant’s wrongful conduct;

         l. Whether Plaintiff and Class Members are entitled to restitution as a result of

             Defendant’s wrongful conduct; and

         m. Whether Plaintiff and Class Members are entitled to injunctive relief to redress the

             imminent and currently ongoing harm faced as a result of the Data Breach.

       75.     Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of those of other

Class Members because all had their PII compromised as a result of the Data Breach, due to

Defendant’s misfeasance.

       76.     Policies Generally Applicable to the Class: This class action is also appropriate for

certification because Defendant has acted or refused to act on grounds generally applicable to the


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Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the Class Members and making final injunctive relief appropriate with respect

to the Class as a whole. Defendant’s policies challenged herein apply to and affect Class Members

uniformly and Plaintiff’s challenge of these policies hinges on Defendant’s conduct with respect

to the Class as a whole, not on facts or law applicable only to Plaintiff.

       77.     Adequacy, Fed. R. Civ. P. 23(a)(4): Plaintiff will fairly and adequately represent

and protect the interests of the Class Members in that they have no disabling conflicts of interest

that would be antagonistic to those of the other Members of the Class. Plaintiff seeks no relief that

is antagonistic or adverse to the Members of the Class and the infringement of the rights and the

damages they have suffered are typical of other Class Members. Plaintiff has retained counsel

experienced in complex class action litigation, and Plaintiff intends to prosecute this action

vigorously.

       78.     Superiority and Manageability, Fed. R. Civ. P. 23(b)(3): The class litigation is an

appropriate method for fair and efficient adjudication of the claims involved. Class action

treatment is superior to all other available methods for the fair and efficient adjudication of the

controversy alleged herein; it will permit a large number of Class Members to prosecute their

common claims in a single forum simultaneously, efficiently, and without the unnecessary

duplication of evidence, effort, and expense that hundreds of individual actions would require.

Class action treatment will permit the adjudication of relatively modest claims by certain Class

Members, who could not individually afford to litigate a complex claim against large corporations,

like Defendant. Further, even for those Class Members who could afford to litigate such a claim,

it would still be economically impractical and impose a burden on the courts.

       79.     The nature of this action and the nature of laws available to Plaintiff and Class


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Members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiff and Class Members for the wrongs alleged because Defendant would

necessarily gain an unconscionable advantage since it would be able to exploit and overwhelm the

limited resources of each individual Class Member with superior financial and legal resources; the

costs of individual suits could unreasonably consume the amounts that would be recovered; proof

of a common course of conduct to which Plaintiff was exposed is representative of that experienced

by the Class and will establish the right of each Class Member to recover on the cause of action

alleged; and individual actions would create a risk of inconsistent results and would be unnecessary

and duplicative of this litigation.

        80.     The litigation of the claims brought herein is manageable. Defendant’s uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

Members demonstrates that there would be no significant manageability problems with

prosecuting this lawsuit as a class action.

        81.     Adequate notice can be given to Class Members directly using information

maintained in Defendant’s records.

        82.     Unless a Class-wide injunction is issued, Defendant may continue in its failure to

properly secure the PII of Class Members, Defendant may continue to refuse to provide proper

notification to Class Members regarding the Data Breach, and Defendant may continue to act

unlawfully as set forth in this Complaint.

        83.     Further, Defendant has acted or refused to act on grounds generally applicable to

the Classes and, accordingly, final injunctive or corresponding declaratory relief with regard to the

Class Members as a whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil

Procedure.


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       84.     Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

              a. Whether Defendant owed a legal duty to Plaintiff and Class Members to exercise

                  due care in collecting, storing, using, and safeguarding their PII;

              b. Whether Defendant breached a legal duty to Plaintiff and Class Members to

                  exercise due care in collecting, storing, using, and safeguarding their PII;

              c. Whether Defendant failed to comply with its own policies and applicable laws,

                  regulations, and industry standards relating to data security;

              d. Whether an implied contract existed between Defendant on the one hand, and

                  Plaintiff and Class Members on the other, and the terms of that implied contract;

              e. Whether Defendant breached the implied contract;

              f. Whether Defendant adequately and accurately informed Plaintiff and Class

                  Members that their PII had been compromised;

              g. Whether Defendant failed to implement and maintain reasonable security

                  procedures and practices appropriate to the nature and scope of the information

                  compromised in the Data Breach;

              h. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing

                  to safeguard the PII of Plaintiff and Class Members; and,

              i. Whether Class Members are entitled to actual damages, statutory damages,

                  nominal damages, and/or injunctive relief as a result of Defendant’s wrongful

                  conduct.


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                                          COUNT I
                                       NEGLIGENCE
                       (On Behalf of Plaintiff and the Nationwide Class)

       85.     Plaintiff and the Nationwide Class re-allege and incorporate by reference herein all

of the allegations contained in paragraphs 1 through 84.

       86.     As a condition of their employment with Defendant, Defendant’s current and

former employees were obligated to provide Defendant with certain PII, including their names,

Social Security numbers, and dates of birth, and those of their beneficiaries and dependents.

       87.     Plaintiff and the Nationwide Class entrusted their PII to Defendant on the premise

and with the understanding that Defendant would safeguard their information, use their PII for

business purposes only, and/or not disclose their PII to unauthorized third parties.

       88.     Defendant has full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and the Nationwide Class could and would suffer if the PII were wrongfully disclosed.

       89.     Defendant knew or reasonably should have known that the failure to exercise due

care in the collecting, storing, and using of the PII of Plaintiff and the Nationwide Class involved

an unreasonable risk of harm to Plaintiff and the Nationwide Class, even if the harm occurred

through the criminal acts of a third party.

       90.     Defendant had a duty to exercise reasonable care in safeguarding, securing, and

protecting such information from being compromised, lost, stolen, misused, and/or disclosed to

unauthorized parties. This duty includes, among other things, designing, maintaining, and testing

Defendant’s security protocols to ensure that the PII of Plaintiff and the Nationwide Class in

Defendant’s possession was adequately secured and protected.

       91.     Defendant also had a duty to exercise appropriate clearinghouse practices to remove

former employees’ PII, and that of their beneficiaries and dependents, it was no longer required to


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retain pursuant to regulations.

       92.     Defendant also had a duty to have procedures in place to detect and prevent the

improper access and misuse of the PII of Plaintiff and the Nationwide Class.

       93.     Defendant’s duty to use reasonable security measures arose as a result of the special

relationship that existed between Defendant and Plaintiff and the Nationwide Class. That special

relationship arose because Plaintiff and the Nationwide Class entrusted Defendant with their

confidential PII, a necessary part of employment with the company.

       94.     Defendant was subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiff or the Nationwide Class.

       95.     A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Nationwide Class was reasonably foreseeable, particularly in light of Defendant’s inadequate

security practices.

       96.     Plaintiff and the Nationwide Class were the foreseeable and probable victims of

any inadequate security practices and procedures. Defendant knew or should have known of the

inherent risks in collecting and storing the PII of Plaintiff and the Nationwide Class, the critical

importance of providing adequate security of that PII, and the necessity for encrypting PII stored

on Defendant’s systems.

       97.     Defendant’s own conduct created a foreseeable risk of harm to Plaintiff and the

Nationwide Class. Defendant’s misconduct included, but was not limited to, its failure to take the

steps and opportunities to prevent the Data Breach as set forth herein. Defendant’s misconduct

also included its decisions not to comply with industry standards for the safekeeping of the PII of

Plaintiff and the Nationwide Class, including basic encryption techniques freely available to

Defendant.


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         98.    Plaintiff and the Nationwide Class had no ability to protect their PII that was in,

and possibly remains in, Defendant’s possession.

         99.    Defendant was in a position to protect against the harm suffered by Plaintiff and

the Nationwide Class as a result of the Data Breach.

         100.   Defendant had and continues to have a duty to adequately disclose that the PII of

Plaintiff and the Nationwide Class within Defendant’s possession might have been compromised,

how it was compromised, and precisely the types of data that were compromised and when. Such

notice was necessary to allow Plaintiff and the Nationwide Class to take steps to prevent, mitigate,

and repair any identity theft and the fraudulent use of their PII by third parties.

         101.   Defendant had a duty to employ proper procedures to prevent the unauthorized

dissemination of the PII of Plaintiff and the Nationwide Class.

         102.   Defendant has admitted that the PII of Plaintiff and the Nationwide Class was

wrongfully lost and disclosed to unauthorized third persons as a result of the Data Breach.

         103.   Defendant, through its actions and/or omissions, unlawfully breached its duties to

Plaintiff and the Nationwide Class by failing to implement industry protocols and exercise

reasonable care in protecting and safeguarding the PII of Plaintiff and the Nationwide Class during

the time the PII was within Defendant’s possession or control.

         104.   Defendant improperly and inadequately safeguarded the PII of Plaintiff and the

Nationwide Class in deviation of standard industry rules, regulations, and practices at the time of

the Data Breach.

         105.   Defendant failed to heed industry warnings and alerts to provide adequate

safeguards to protect the PII of Plaintiff and the Nationwide Class in the face of increased risk of

theft.


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       106.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

Plaintiff and the Nationwide Class by failing to have appropriate procedures in place to detect and

prevent dissemination of its current and former employees’ PII, and that of their beneficiaries and

dependents.

       107.    Defendant breached its duty to exercise appropriate clearinghouse practices by

failing to remove former employees’ PII, and that of their beneficiaries and dependents, it was no

longer required to retain pursuant to regulations.

       108.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

adequately and timely disclose to Plaintiff and the Nationwide Class the existence and scope of

the Data Breach.

       109.    But for Defendant’s wrongful and negligent breach of duties owed to Plaintiff and

the Nationwide Class, the PII of Plaintiff and the Nationwide Class would not have been

compromised.

       110.    There is a close causal connection between Defendant’s failure to implement

security measures to protect the PII of Plaintiff and the Nationwide Class and the harm, or risk of

imminent harm, suffered by Plaintiff and the Nationwide Class. The PII of Plaintiff and the

Nationwide Class was lost and accessed as the proximate result of Defendant’s failure to exercise

reasonable care in safeguarding such PII by adopting, implementing, and maintaining appropriate

security measures.

       111.    Additionally, Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice by

businesses, such as Defendant, of failing to use reasonable measures to protect PII. The FTC

publications and orders described above also form part of the basis of Defendant’s duty in this


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regard.

          112.   Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

to protect PII and not complying with applicable industry standards, as described in detail herein.

Defendant’s conduct was particularly unreasonable given the nature and amount of PII it obtained

and stored and the foreseeable consequences of the immense damages that would result to Plaintiff

and the Nationwide Class.

          113.   Defendant’s violation of Section 5 of the FTC Act constitutes negligence per se.

          114.   Plaintiff and the Nationwide Class are within the class of persons that the FTC Act

was intended to protect.

          115.   The harm that occurred as a result of the Data Breach is the type of harm the FTC

Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

which, as a result of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and the Nationwide Class.

          116.   As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and the Nationwide Class have suffered and will suffer injury, including but not limited

to: (i) actual identity theft; (ii) the loss of the opportunity of how their PII is used; (iii) the

compromise, publication, and/or theft of their PII; (iv) out-of-pocket expenses associated with the

prevention, detection, and recovery from identity theft, tax fraud, and/or unauthorized use of their

PII; (v) lost opportunity costs associated with effort expended and the loss of productivity

addressing and attempting to mitigate the actual and future consequences of the Data Breach,

including but not limited to efforts spent researching how to prevent, detect, contest, and recover

from tax fraud and identity theft; (vi) costs associated with placing freezes on credit reports; (vii)

the continued risk to their PII, which remain in Defendant’s possession and is subject to further


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unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the PII of Plaintiff and the Nationwide Class; and (viii) future costs in terms

of time, effort, and money that will be expended to prevent, detect, contest, and repair the impact

of the PII compromised as a result of the Data Breach for the remainder of the lives of Plaintiff

and the Nationwide Class.

       117.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and the Nationwide Class have suffered and will continue to suffer other forms of injury

and/or harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and other

economic and non-economic losses.

       118.    Additionally, as a direct and proximate result of Defendant’s negligence and

negligence per se, Plaintiff and the Nationwide Class have suffered and will suffer the continued

risks of exposure of their PII, which remain in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the PII in its continued possession.

                                          COUNT II
                           BREACH OF IMPLIED CONTRACT
                       (On Behalf of Plaintiff and the Employees Class)

       119.    Plaintiff and the Employees Class re-allege and incorporate by reference herein all

of the allegations contained in paragraphs 1 through 84.

       120.    Defendant required Plaintiff and the Employees Class to provide their personal

information, including names, Social Security numbers, and dates of birth, and other personal

information, as a condition of their employment. Defendant may have also required Plaintiff and

the Employees Class to provide their government-issued ID numbers, financial account numbers,

credit/debit card numbers, passwords or login credentials, digital signatures, mother’s maiden


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names, birth certificates, biometric information, and medical/health insurance information as a

condition of employment.

          121.   As a condition of their employment with Defendant, Plaintiff and the Employees

Class provided their personal and financial information, including but not limited to the personal

information of their beneficiaries and dependents. In so doing, Plaintiff and the Employees Class

entered into implied contracts with Defendant by which Defendant agreed to safeguard and protect

such information, to keep such information secure and confidential, and to timely and accurately

notify Plaintiff and the Employees Class if their data had been breached and compromised or

stolen.

          122.   Plaintiff and the Employees Class fully performed their obligations under the

implied contracts with Defendant.

          123.   Defendant breached the implied contracts it made with Plaintiff and the Employees

Class by failing to safeguard and protect their personal and financial information, including the

personal information of their beneficiaries and dependents, and by failing to provide timely and

accurate notice to them that personal and financial information, along with the personal

information of their beneficiaries and dependents, was compromised as a result of the data breach.

          124.   As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiff and the Employees Class have suffered (and will continue to suffer) ongoing,

imminent, and impending threat of identity theft crimes, fraud, and abuse, resulting in monetary

loss and economic harm; actual identity theft crimes, fraud, and abuse, resulting in monetary loss

and economic harm; loss of the confidentiality of the stolen confidential data; the illegal sale of

the compromised data on the dark web; expenses and/or time spent on credit monitoring and

identity theft insurance; time spent scrutinizing bank statements, credit card statements, and credit


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reports; expenses and/or time spent initiating fraud alerts, decreased credit scores and ratings; lost

work time; and other economic and non-economic harm.

                                            COUNT III
                                    INVASION OF PRIVACY
                          (On Behalf of Plaintiff and the Nationwide Class)

           125.    Plaintiff and the Nationwide Class re-allege and incorporate by reference herein

all of the allegations contained in paragraphs 1 through 84.

           126.    Plaintiff and the Nationwide Class had a legitimate expectation of privacy to their

PII and were entitled to the protection of this information against disclosure to unauthorized third

parties.

           127.    Defendant owed a duty to its current and former employees and their beneficiaries

and dependents, including Plaintiff and the Nationwide Class, to keep their PII contained as a part

thereof, confidential.

           128.    Defendant failed to protect and released to unknown and unauthorized third parties

the PII of Plaintiff and the Nationwide Class.

           129.    Defendant allowed unauthorized and unknown third parties access to and

examination of the PII of Plaintiff and the Nationwide Class, by way of Defendant’s failure to

protect the PII.

           130.    The unauthorized release to, custody of, and examination by unauthorized third

parties of the PII of Plaintiff and the Nationwide Class is highly offensive to a reasonable person.

           131.    The intrusion was into a place or thing, which was private and is entitled to be

private. Plaintiff and the Nationwide Class disclosed their PII to Defendant as part of the current

and former employees’ employment with Defendant, but privately with an intention that the PII

would be kept confidential and would be protected from unauthorized disclosure. Plaintiff and the


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Nationwide Class were reasonable in their belief that such information would be kept private and

would not be disclosed without their authorization.

       132.    The Data Breach at the hands of Defendant constitutes an intentional interference

with Plaintiff’s and the Nationwide Class’s interest in solitude or seclusion, either as to their

persons or as to their private affairs or concerns, of a kind that would be highly offensive to a

reasonable person.

       133.    Defendant acted with a knowing state of mind when its permitted the Data Breach

to occur because it was with actual knowledge that its information security practices were

inadequate and insufficient.

       134.    Because Defendant acted with this knowing state of mind, it had notice and knew

the inadequate and insufficient information security practices would cause injury and harm to

Plaintiff and the Nationwide Class.

       135.    As a proximate result of the above acts and omissions of Defendant, the PII of

Plaintiff and the Nationwide Class was disclosed to third parties without authorization, causing

Plaintiff and the Nationwide Class to suffer damages.

       136.    Unless and until enjoined, and restrained by order of this Court, Defendant’s

wrongful conduct will continue to cause great and irreparable injury to Plaintiff and the

Nationwide Class in that the PII maintained by Defendant can be viewed, distributed, and used by

unauthorized persons for years to come. Plaintiff and the Nationwide Class have no adequate

remedy at law for the injuries in that a judgment for monetary damages will not end the invasion

of privacy for Plaintiff and the Nationwide Class.




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                                            COUNT IV
                                 BREACH OF CONFIDENCE
                         (On Behalf of Plaintiff and the Nationwide Class)

           137.   Plaintiff and the Nationwide Class re-allege and incorporate by reference herein all

of the allegations contained in paragraphs 1 through 84.

           138.   At all times during Plaintiff’s and the Nationwide Class’s interactions with

Defendant, Defendant was fully aware of the confidential and sensitive nature of Plaintiff’s and

the Nationwide Class’s PII that Plaintiff and the Nationwide Class employed by Defendant

provided to Defendant.

           139.   As alleged herein and above, Defendant’s relationship with Plaintiff and the

Nationwide Class was governed by terms and expectations that Plaintiff’s and the Nationwide

Class’s PII would be collected, stored, and protected in confidence, and would not be disclosed to

unauthorized third parties.

           140.   Plaintiff and the Nationwide Class employed by Defendant provided Plaintiff’s and

the Nationwide Class’s PII to Defendant with the explicit and implicit understandings that

Defendant would protect and not permit the PII to be disseminated to any unauthorized third

parties.

           141.   Plaintiff and the Nationwide Class employed by Defendant also provided Plaintiff’s

and the Nationwide Class’s PII to Defendant with the explicit and implicit understandings that

Defendant would take precautions to protect that PII from unauthorized disclosure.

           142.   Defendant voluntarily received in confidence Plaintiff’s and the Nationwide

Class’s PII with the understanding that PII would not be disclosed or disseminated to the public or

any unauthorized third parties.




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       143.    Due to Defendant’s failure to prevent and avoid the Data Breach from occurring,

Plaintiff and the Nationwide Class’s PII was disclosed and misappropriated to unauthorized third

parties beyond Plaintiff’s and the Nationwide Class’s confidence, and without their express

permission.

       144.    As a direct and proximate cause of Defendant’s actions and/or omissions, Plaintiff

and the Nationwide Class have suffered damages.

       145.    But for Defendant’s disclosure of Plaintiff’s and the Nationwide Class’s PII in

violation of the parties’ understanding of confidence, their PII would not have been compromised,

stolen, viewed, accessed, and used by unauthorized third parties. Defendant’s Data Breach was

the direct and legal cause of the theft of Plaintiff’s and the Nationwide Class’s PII as well as the

resulting damages.

       146.    The injury and harm Plaintiff and the Nationwide Class suffered was the reasonably

foreseeable result of Defendant’s unauthorized disclosure of Plaintiff’s and the Nationwide Class’s

PII. Defendant knew or should have known its methods of accepting and securing Plaintiff’s and

the Nationwide Class’s PII was inadequate as it relates to, at the very least, securing servers and

other equipment containing Plaintiff’s and the Nationwide Class’s PII.

       147.    As a direct and proximate result of Defendant’s breach of its confidence with

Plaintiff and the Nationwide Class, Plaintiff and the Nationwide Class have suffered and will suffer

injury, including but not limited to: (i) actual identity theft; (ii) the loss of the opportunity how

their PII is used; (iii) the compromise, publication, and/or theft of their PII; (iv) out-of-pocket

expenses associated with the prevention, detection, and recovery from identity theft, tax fraud,

and/or unauthorized use of their PII; (v) lost opportunity costs associated with effort expended and

the loss of productivity addressing and attempting to mitigate the actual and future consequences


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of the Data Breach, including but not limited to efforts spent researching how to prevent, detect,

contest, and recover from tax fraud and identity theft; (vi) costs associated with placing freezes on

credit reports; (vii) the continued risk to their PII, which remain in Defendant’s possession and is

subject to further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the PII of current and former employees and their beneficiaries and

dependents; and (viii) future costs in terms of time, effort, and money that will be expended to

prevent, detect, contest, and repair the impact of the PII compromised as a result of the Data Breach

for the remainder of the lives of Plaintiff and the Nationwide Class.

       148.    As a direct and proximate result of Defendant’s breaches of confidence, Plaintiff

and the Nationwide Class have suffered and will continue to suffer other forms of injury and/or

harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and other economic

and non-economic losses.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and Class Members, requests judgment

against Defendant and that the Court grant the following:

       A.      For an Order certifying the Nationwide Class and the Employees Class and

               appointing Plaintiff and their Counsel to represent each such Class;

       B.      For equitable relief enjoining Defendant from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of the PII of

               Plaintiff and Class Members, and from refusing to issue prompt, complete, any

               accurate disclosures to Plaintiff and Class Members;

       C.      For injunctive relief requested by Plaintiff, including but not limited to, injunctive

               and other equitable relief as is necessary to protect the interests of Plaintiff and


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     Class Members, including but not limited to an order:

     i.   prohibiting Defendant from engaging in the wrongful and unlawful acts

          described herein;

    ii.   requiring Defendant to protect, including through encryption, all data collected

          through the course of its business in accordance with all applicable regulations,

          industry standards, and federal, state or local laws;

   iii.   requiring Defendant to delete, destroy, and purge the personal identifying

          information of Plaintiff and Class Members unless Defendant can provide to

          the Court reasonable justification for the retention and use of such information

          when weighed against the privacy interests of Plaintiff and Class Members;

   iv.    requiring Defendant to implement and maintain a comprehensive Information

          Security Program designed to protect the confidentiality and integrity of the PII

          of Plaintiff and Class Members;

    v.    prohibiting Defendant from maintaining the PII of Plaintiff and Class Members

          on a cloud-based database;

   vi.    requiring   Defendant      to    engage    independent     third-party   security

          auditors/penetration testers as well as internal security personnel to conduct

          testing, including simulated attacks, penetration tests, and audits on

          Defendant’s systems on a periodic basis, and ordering Defendant to promptly

          correct any problems or issues detected by such third-party security auditors;

  vii.    requiring Defendant to engage independent third-party security auditors and

          internal personnel to run automated security monitoring;

  viii.   requiring Defendant to audit, test, and train its security personnel regarding any


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          new or modified procedures;

   ix.    requiring Defendant to segment data by, among other things, creating firewalls

          and access controls so that if one area of Defendant’s network is compromised,

          hackers cannot gain access to other portions of Defendant’s systems;

    x.    requiring Defendant to conduct regular database scanning and securing checks;

   xi.    requiring Defendant to establish an information security training program that

          includes at least annual information security training for all employees, with

          additional training to be provided as appropriate based upon the employees’

          respective responsibilities with handling personal identifying information, as

          well as protecting the personal identifying information of Plaintiff and Class

          Members;

  xii.    requiring Defendant to routinely and continually conduct internal training and

          education, and on an annual basis to inform internal security personnel how to

          identify and contain a breach when it occurs and what to do in response to a

          breach;

  xiii.   requiring Defendant to implement a system of tests to assess its respective

          employees’ knowledge of the education programs discussed in the preceding

          subparagraphs, as well as randomly and periodically testing employees

          compliance with Defendant’s policies, programs, and systems for protecting

          personal identifying information;

  xiv.    requiring Defendant to implement, maintain, regularly review, and revise as

          necessary a threat management program designed to appropriately monitor

          Defendant’s information networks for threats, both internal and external, and


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                  assess whether monitoring tools are appropriately configured, tested, and

                  updated;

           xv.    requiring Defendant to meaningfully educate all Class Members about the

                  threats that they face as a result of the loss of their confidential personal

                  identifying information to third parties, as well as the steps affected individuals

                  must take to protect themselves;

           xvi.   requiring Defendant to implement logging and monitoring programs sufficient

                  to track traffic to and from Defendant’s servers; and for a period of 10 years,

                  appointing a qualified and independent third party assessor to conduct a SOC 2

                  Type 2 attestation on an annual basis to evaluate Defendant’s compliance with

                  the terms of the Court’s final judgment, to provide such report to the Court and

                  to counsel for the class, and to report any deficiencies with compliance of the

                  Court’s final judgment;

      D.      For an award of damages, including actual, nominal, and consequential damages,

              as allowed by law in an amount to be determined;

      E.      For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

      F.      For prejudgment interest on all amounts awarded; and

      G.      Such other and further relief as this Court may deem just and proper.

                                DEMAND FOR JURY TRIAL

      Plaintiff hereby demands that this matter be tried before a jury.

Date: March 15, 2021                         Respectfully Submitted,

                                             /s/ Gregory Bosseler




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